                     UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                           Civil Action No. 5:12-cv-412-FL

TIMOTHY BELL,

      Plaintiff,


v.

BANK OF AMERICA and
LAJUNE RAY,

      Defendants.


                                  EXHIBIT 1
                                     TO
                        DECLARATION OF BRUCE M. STEEN
                   IN SUPPORT OF DEFENDANTS’ BILL OF COSTS




     Case 5:12-cv-00412-FL Document 46-2 Filed 10/03/13 Page 1 of 2
Case 5:12-cv-00412-FL Document 46-2 Filed 10/03/13 Page 2 of 2
